   Case 19-00730-5-JNC                 Doc 737 Filed 03/31/20 Entered 03/31/20 14:08:39    Page 1 of 1
VAN−018 Notice of Telephone Conference − Rev. 03/27/2020

                             UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF NORTH CAROLINA
                                                           Greenville Division

IN RE:
CAH Acquisition Company 1, LLC d/b/a Washington CASE NO.: 19−00730−5−JNC
County Hospital
 ( debtor has no known aliases )                DATE FILED: February 19, 2019
958 U.S. Highway 64 East
Plymouth, NC 27962                              CHAPTER: 11




                                         NOTICE OF TELEPHONE CONFERENCE

NOTICE IS HEREBY GIVEN that a hearing will be held by telephone as indicated below:

DATE: Thursday, April 23, 2020
TIME: 01:00 PM
to consider and act upon the following matters:

Second Application for Compensation for Greenberg Traurig, LLP, Other Professional, Fee:$3736.00,
Expenses:$0. filed by Brian R. Anderson

Second Application for Compensation for SAK Management Services, LLC, Ombudsman Health,
Fee:$22985.00, Expenses:$3969.38. filed by Brian R. Anderson

Sixth Application for Compensation for Jason L. Hendren, Trustee's Attorney, Fee:$6940.50,
Expenses:$383.20. filed by Jason L. Hendren

The hearing will involve the following parties:

Judge Joseph N. Callaway
Brian Anderson
Jason Hendren
Marjorie Lynch/Kirstin Gardner


To join the conference call, please dial 1−888−273−3658, and enter the access code 3113071 # . If asked,
please do not join the conference call as the host, instead, press the # key and wait for the conference to
begin. The AT & T operator will ask you to state your name when the conference is about to begin.

DATED: March 31, 2020

                                                                    Stephanie J. Butler
                                                                    Clerk of Court
